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                            EXHIBIT 9
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From:
To:             Lowell, Abbe David
Subject:        CONFIRMATION
Date:           Monday, September 2, 2019 1:38:40 AM


Dear Mr. Lowell:

On behalf of          , I would like to confirm with you that         understands that the
Justice Department has raised the issue of your representation of Nickie Lum Davis and any
areas in which her actions and conversations involved him. Because they have raised the
topic, he confirms as he did before that he has no conflict with Ms. Davis or your
representation of her. Your advice to           is separate from any of the issues in which you
are advising her. You have made it clear and            agrees that you have no duty to disclose
information from your representation of her to him or vice versa and that you have not done
so. He would not raise your representation of her in any action or in any claim or defense in
any existing or future case. He had an opportunity to speak with his own counsel on these
issues before making this confirmation.

Sincerely,
